          Case 2:20-cv-00200-GAM Document 114 Filed 08/23/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ALLEGHENY COUNTY EMPLOYEES’                             :
RETIREMENT SYSTEM, et al.                               :
                                                        :
v.                                                      :       CIVIL ACTION NO. 20-200
                                                        :
ENERGY TRANSFER LP, et al.                              :


                                               ORDER

        This 23rd day of August, 2022, it is hereby ORDERED that Plaintiffs’ Motion for Class

Certification and Appointment of Class Representatives and Class Counsel is GRANTED in part

and DENIED in part. It is further ORDERED that:

     1. The Class is certified pursuant to Rules 23(a) and 23(b)(3) of the Federal Rules of Civil

Procedure and defined as follows:

        All persons who purchased or otherwise acquired common units of Energy
        Transfer LP between February 25, 2017, and November 11, 2019, inclusive (the
        “Class Period”). Excluded from the Class are (i) Energy Transfer; (ii) any
        directors and officers of Energy Transfer during the Class Period and members of
        the immediate families; (iii) the subsidiaries, parents and affiliates of Energy
        Transfer; (iv) any firm, trust, corporation or other entity in which Energy Transfer
        has or had a controlling interest; and (v) the legal representatives, heirs,
        successors and assign of any such excluded party.
     2. The Class is certified as to claims deriving from misrepresentations linked to corrective

disclosures made in August 2018, October 2018, December 2018, and November 2019, as identified

by the parties and discussed in the Memorandum that accompanies this Order, for which

predominance has been shown as required by Rule 23(b)(3).

     3. The Class is not certified as to claims deriving from misrepresentations linked to corrective

disclosures made in August 2019 and December 2019, as identified by the parties and discussed in

the Memorandum that accompanies this Order, for which predominance has not been shown as

required by Rule 23(b)(3).
        Case 2:20-cv-00200-GAM Document 114 Filed 08/23/22 Page 2 of 2




   4. Lead Plaintiffs are appointed Class Representatives of the Class pursuant to Rules 23(a)

and 23(b)(3) of the Federal Rules of Civil Procedure; and

   5. Lead Counsel, Barrack Rodos & Bacine and Bernstein Litowitz Berger & Grossmann

LLP, are appointed as Class Counsel, pursuant to Rule 23(g) of the Federal Rules of Civil

Procedure.


                                                            /s/ Gerald Austin McHugh
                                                            United States District Judge
